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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF OKLAHOMA

  MARILYN ANN PHILLIPS,                                 )
                                                        )
                         Plaintiff,                     )
                                                        )       Case No. 17-CV-547-JED-JFJ
  v.                                                    )
                                                        )
  FARMERS INSURANCE COMPANY, INC.,                      )
                                                        )
                         Defendant.                     )


                                                ORDER

  I.     Background

         Plaintiff initiated this case in state court on August 28, 2017, alleging that the defendant,

  Farmers Insurance Company, Inc. (Farmers), owes her additional underinsured motorist (UM)

  benefits as a result of an auto accident on August 27, 2012. The plaintiff settled with the tortfeasor

  for policy limits of $100,000, then submitted a demand to Farmers to pay UM benefits. Farmers

  evaluated the plaintiff’s claim at $184,165, then paid UM benefits in the amount of $84,165, over

  the $100,000 policy limits paid in settlement with the tortfeasor. Plaintiff has demanded that

  Farmers pay her the remainder of the UM $1,000,000 limits under her policy. Farmers removed

  the action on the basis of diversity jurisdiction. Both parties have filed motions in limine (Doc.

  30, 32), which are addressed below.

  II.    Discussion

         A.      Motion in Limine Filed by Farmers (Doc. 30)

                 1.      Medical bills

         Farmers requests a pretrial order limiting the plaintiff’s evidence of medical billings, under

  Okla. Stat. tit. 12, § 3009.1, to amounts actually paid and any additional amounts claimed due after
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  insurance payments. In response, plaintiff represents that she “is not asking for damages for past

  medical bills.” (Doc. 38). As no evidence of past medical billings will be introduced, the request

  by Farmers on this issue is denied as moot.

                 2.      Permanent partial impairment ratings

         Farmers requests an order excluding any opinion evidence regarding percentages of

  permanent partial disability allegedly resulting from the plaintiff’s injuries. Plaintiff’s medical

  expert, Richard A. Hastings, II, D.O., has provided written expert reports opining as to the injuries

  he asserts were caused by the accident and indicating his opinions as to plaintiff’s treatment and

  prognosis. In one of his reports, Dr. Hastings included his opinion as to percentages of whole

  person permanent partial impairment resulted from plaintiff’s injuries. According to Farmers, such

  percentage impairment ratings are typically used in workers compensation proceedings, but they

  are not relevant to this UM benefits dispute. (See Doc. 31 at 2, 4-6).

         In response, plaintiff asserts that such ratings are relevant and admissible under Oklahoma

  case law. (Doc. 38 at 1-3) (citing Witt v. Martin, 672 P.2d 312 (Okla. Civ. App. 1983); and

  Thompson v. Walton, 297 P.2d 1084 (Okla. 1956)). In Witt, the Oklahoma appellate court noted

  in a personal injury case that “[n]o rule of law forbids a medical expert witness to express an

  opinion regarding the percentage of disability a party has sustained.” 672 P.2d at 322. In

  Thompson, the Oklahoma Supreme Court determined that the trial court did not err in permitting

  a physician to provide an estimate of plaintiff’s disability. 297 P.2d at 1087-88. Explaining its

  reasoning, the court stated that, while “damages are not measured under the rules applicable in

  workmen’s compensation cases, we fail to see how defendants could be prejudiced by the

  testimony of plaintiff’s physicians fixing disability of plaintiff as 20 percent of the whole body,”

  as the testimony could be relevant to damages, in particular, loss of earning power. Id. at 1088.



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  Based upon the Court’s review of those authorities and the arguments presented by the parties, the

  motion of Farmers on this issue is denied.

         B.      Plaintiff’s Motion in Limine (Doc. 32)

                 1.      Evidence the parties agree will not be offered

         Plaintiff’s motion in limine seeks pretrial exclusion of six categories of evidence. As to

  four of those categories, Farmers agrees that such evidence will not be introduced. Those items

  are (1) the police report, (2) a transcript of a telephone conversation between plaintiff and a

  Farmers claims representative, (3) the investigating officer’s testimony regarding codes on the

  accident report, and (4) medical expenses plaintiff incurred for treatment of injuries allegedly

  sustained in the accident. Accordingly, plaintiff’s motion as to those items is denied as moot.

                 2.      Photographs of the vehicles after the accident

         Plaintiff argues that photographs taken of the automobiles involved in the underlying

  accident should not be admitted, because it is undisputed that the third party driver of the other

  vehicle was 100% at fault, and the photographs are irrelevant to show the “cause, nature, and/or

  extent of the injuries” to plaintiff. (Doc. 32 at 1). In response, Farmers argues that the photographs

  may be relevant, depending on the evidence presented at trial, and that it would be premature to

  exclude such evidence as irrelevant. (Doc. 45 at 2). By way of example, Farmers argues that the

  “location of the impact may become relevant if questions arise as to movement of the vehicles or

  Plaintiff as a result of the accident. A situation may arise at trial where photographs may become

  relevant for impeachment purposes.” (Id.). The Court agrees that any decision regarding the

  admissibility of the photographs should be determined in the context of the trial. The plaintiff’s

  motion on this issue is denied at this time.




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                 3.      Evidence of claims and lawsuits by plaintiff’s husband against Farmers

         Plaintiff requests that the Court enter a pretrial order excluding evidence relating to claims

  and lawsuits her husband has asserted against Farmers. Farmers did not respond or object to

  plaintiff’s request, and it does not appear that those other claims and lawsuits have any relevance

  to this case or to the plaintiff’s claimed injuries. Accordingly, plaintiff’s motion on this issue is

  granted.

  III.   Conclusion

         For the foregoing reasons, the defendant’s motion in limine (Doc. 30) is denied, and the

  plaintiff’s motion in limine (Doc. 32) is granted in part and denied in part, as set forth above.

         SO ORDERED this 20th day of July, 2018.




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